 1 JESSE LASLOVICH
   United States Attorney
 2 MADISON L. MATTIOLI                                   MARK STEGER SMITH
     MT Bar No. 36411284                                  MT Bar No. 4160
 3 ABBIE J.N. CZIOK                                      TIMOTHY A. TATARKA
     MT Bar No. 55781377                                  CA Bar No. 277219
 4 Assistant U.S. Attorneys                              Assistant U.S. Attorneys
    U.S. Attorney’s Office                               U.S. Attorney’s Office
 5 901 Front Street, Suite 1100                          James F. Battin Federal Courthouse
    Helena, MT 59626                                     2601 2nd Ave. North, Suite 3200
 6 Phone: (406) 457-5269 – Madison                       Billings, MT 59101
        (406) 457-5268 – Abbie                           Phone: (406) 247-4667 – Mark
 7 Fax: (406) 457-5130                                        (406) 247-4642 – Tim
    Email: madison.mattioli@usdoj.gov                    Fax: (406) 657-6058
 8        abbie.cziok@usdoj.gov                          Email: mark.smith3@usdoj.gov
                                                            timothy.tatarka@usdoj.gov
 9    Attorneys for Federal Defendants and
      Defendant United States of America.
10

11                             IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
12
   CALIFORNIA COALITION FOR WOMEN
13 PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
   G.M.; A.S.; and L.T., individuals on behalf of    CASE NO. 4:23-CV-04155-YGR
14 themselves and all others similarly situated,

15                               Plaintiffs
                          v.                         UNITED STATES’ BRIEF IN SUPPORT OF
16                                                   ITS RULE 60 MOTION FOR RELIEF
   UNITED STATES OF AMERICA FEDERAL
17 BUREAU OF PRISONS, a governmental entity;         EXCERPTS FILED UNDER SEAL
   BUREAU OF PRISONS DIRECTOR
18 COLETTE PETERS, in her official capacity;
   FCI DUBLIN WARDEN THAHESHA JUSINO,
19 in her official capacity; OFFICER
   BELLHOUSE, in his individual capacity;
20 OFFICER GACAD, in his individual capacity;
   OFFICER JONES, in his individual capacity;
21 LIEUTENANT JONES, in her individual
   capacity; OFFICER LEWIS, in his individual
22 capacity; OFFICER NUNLEY, in his individual
   capacity, OFFICER POOL, in his individual
23 capacity, LIEUTENANT PUTNAM, in his
   individual capacity; OFFICER SERRANO, in
24 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
25 individual capacity; and OFFICER VASQUEZ,
   in her individual capacity,
26
                      Defendants.
27

28

     U.S.’ B RIEF ISO R ULE 60 MOTION F OR R ELIEF
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                                                 INTRODUCTION

           The federal Bureau of Prisons (BOP) respectfully requests relief from this Court’s Order at Doc.

254-1 (Attachment A.1), filed under seal on April 15, 2024, pursuant to Fed. R. Civ. P. 60(b).

           As the Court explained in its preliminary injunction order, the situation at FCI Dublin requires

“immediate change,” partly as a result of “significant lack of health services and severe understaffing.”

(Doc. 22 at 1, 10.) The Director of the BOP, acting under her authority under 18 U.S.C. § 3621(b), has

determined that the immediate change required is closure of the facility and transfer of all adults in

custody (AICs) housed there. BOP is aligned with the Court in its commitment to the safe and orderly

transfer of AICs in the wake of this closure and is committed to working with the Court to address its

concerns. However, this Court’s April 15 Order re: Transfer of Inmates at FCI Dublin (Transfer Order)

and Attachment A.1, as interpreted by the Special Master, are counterproductive in terms of promoting

safety and welfare. As set forth in greater detail below, prompt AIC transfers

ee                                                1s the best and only mechanism of ensuring AIC health and

safety, as wellas that of BOP staff. Further, provisions of the Court’s Transfer Order and Attachment

A.1 exceed the Court’s authority, extend the role of the Special Master beyond that envisioned by the

Prison Litigation Reform Act (PLRA), and violate the separation of powers as envisioned in the United

States Constitution. These Orders must be modified to afford appropriate deference to the BOP in

carrying out its executive decision to close FCI Dublin and transfer all AICs      to other institutions.

     I.       LEGAL        STANDARD

           Federal Rule of Civil Procedure 60(b) provides the grounds for relief from a final judgment,

order, or proceeding. It states, in pertinent part, that “on motion and just terms, the court may relieve a

party or its legal representative from a final judgment, order, or proceeding for the following reasons: (1)

mistake, madvertence, surprise... [or] (2) newly discovered evidence that, with reasonable diligence,

could not have been discovered in time to move for a new trial under Rule 59(b).”

     Il.       PROCEDURAL                 BACKGROUND

           On March 15, 2024, the Court granted class certification and granted in part and denied in part

the motion for preliminary injunction and ruled it would “appoint a special master forthwith.” (See Doc.

222.) The Special Master was directed to focus on three areas the Court identified as problematic:


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reducing the risk of sexual abuse, medical/mental health care, and the monitoring and deterring of

retaliatory actions by staff. Jd.

          BOP has been considering the closure of FCI Dublin for many years. The closure is now

compelled due to FCI Dublin’s perpetual short-staffing, aging infrastructure, and ongoing allegations of

staff misconduct. Details regarding the closure of a federal prison are highly sensitive and cannot

become public in advance of the closure due to serious safety and security risks to all involved. (Lothrop

Decl., Doc. 236-2.) As such, the mformation can be shared only on a need-to-know basis. Once the

timeline for closure of FCI Dublin was solidified, it became apparent that the Court had a need to know.

Accordingly, BOP made ex parte contact with the Court to inform it of the impending facility closure,

omitting any logistical details. (Doc. 235.) BOP again notified the Court ex parte of the impending

facility closure on April 12, 2024, this time including estimated dates of the closure but omitting

logistical details. (Docs. 251, 251-1, 251-2, 251-3.)

          The logistical details nvolved with the mass transfer of all AICs   at a particular facility cannot be

changed on the fly. Extensive resources and employee hours have already been invested in the           move yy




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           Even though BOP has assured Dublin staff they will not lose their jobs because of the closure,

many staff are frustrated with the uncertainty, and many have refused to report for duty at an already

understaffed facility. BOP has brought in for temporary duty gg                     staff members from

institutions around the country to assist in this   movement ,

ditionally,                                                                           local FCI Dublin
staffing numbers and availability continue to dwindle. When the closure of FCI Dublin was announced

on Monday, April 15, 2024, local staff were offered the opportunity to be excused from work for the

remainder of the day to deal with the news, and approximately 90% of local FCI Dublin staff left work

for the remainder of the day. Since that time, local staff at Dublin have suffered from a significant

morale dec] inc,

          On April 15, 2024, the Court issued an Order re: Transfer of Inmates at FCI Dublin. (Doc. 252.)

This Order states:
       The Court is aware that the Bureau of Prisons (“BOP”) has announced its intended closure
       of FCI Dublin.... [G]iven some of BOP’s significant inadequacies previously referenced,
       BOP SHALL UPDATE CASEWORK for all inmates in the manner identified in
       Attachment A hereto, including classification and release dates. This updated casework is
       required, in part, to ensure mmates are transferred to the correct location. This includes
       whether an inmate should be released to a BOP facility, home confinement, or halfway
       house, or granted a compassionate release. The result of these case reviews and transfer
       designations SHALL be reviewed with the Special Master prior to transfer. The detail in
       Attachment A is SEALED for security reasons.”


          Attachment A.1             states:


         ee
         ee

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(See Doc. 254-1 (SEALED)).

          Ms. Still has stated to Interim Warden N.T. McKinney that she interprets the Court’s order as

authorizing her to require a BOP doctor to conduct an in-person patient encounter with every AIC,                as

well as the medical provider on her team to have an in-person patient interview with every AIC and

conduct a complete review of the AICs            entire electronic medical record prior to Ms. Still approving

transfer. (McKinney Decl., § 5.) Ms. Still has indicated that the medical provider on her team could sit m

while BOP’s doctor does the inpatient encounter to streamline the process, however that individual

could not be onsite before noon today. BOP has dedicated substantial resources to bringing in multiple

doctors to assist with AIC transfers this week, and Ms. Still has one medical provider on her team.

Moreover, these procedures — above what BOP requires — are significantly delaying the transfer process.

(McKinney Decl., § 5-6.)

          The delay in the closure of FCI Dublin may adversely affect the medical care of AICs. Based on

Interim Warden McKinney’s independent review of FCI Dublin operations during her short tenure, she



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has determined that consultations for medical services are prone to significant delay due to staffing

shortages and few outside providers willing to medically treat FCI Dublin inmates for fear of receiving

an allegation of sexual abuse. For example, dentistry consults that have been approved and just waiting

to be scheduled by BOP’s third-party medical scheduler are       yg                     overdue. Radiology

consults that were approved and are waiting to be scheduled are                              overdue.

Mammogram consults that have been approved and are just waiting to be scheduled are

MMMM overdue. (McKinney Decl.,                 9.)

           FCI Dublin hasgg pending consults. Of those         pending consults,   ggjare routine and J   are

considered urgent. BOP’s Health Services Utilization Review nurses will provide follow-up care with all

AICs with consults at their receiving sites as a measure of oversight to ensure all sub -specialist

appointments are scheduled and completed. The delay in transfer exacerbates medically needed

mammograms, x-rays, and gastrointestinal appomtments. (McKinney Decl., § 10.) Moreover, given the

aforementioned delays in outside consult scheduling, requiring completion of these consults prior to

transfer is impossible. BOP can provide the court and SM with information on where these individuals

are going and provide assurance that the receiving facilities are aware of their medical needs.

           These medical issues and the dedication of largescale manpower and equipment investment in

the FCI Dublin closure creates urgency of the scheduled movements. To ensure the safe and secure

transport of AICs, and to ensure the safety of the public at large, BOP must dedicate an adequate number

of trained staff, dedicate sufficient transport busses, and coordinate adequate airlift resources. Use of

each of these resources necessarily depletes availability of those resources for other missions and in

other locations. BOP was originally scheduled to move J          inmates per day out of FCI Dublin. Since

the imposition of the Court’s order, BOP is thus far scheduled to move only about Jj inmates.

(McKinney Decl., § 15.) The aforementioned logistical limitations create extraordinary urgency — in

addition to safety and security concerns — the longer this process is delayed.

     Il.      ARGUMENT

           As the Court has recognized, immediate action is necessary to address the long-standing issues at

FCI Dublin. The Director, pursuant to her authority is taking that action, which requires a massive

expenditure of resources over a short time-period. The result will be the transfer of inmates to facilities

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 1 with better staffing and culture than Dublin. The transitional period, however, is one freighted with

 2 logistical, security, and safety hurdles, all of which are exacerbated the longer the process is drawn

 3 out—putting both inmates and staff at risk.

 4             The Court is understandably interested in safeguarding the interests of the inmate population

 5 during this transfer period. In particular, the Court’s Transfer Order and Attachment A.1 identified three

 6 areas of concern: (1) classification and release dates, (2) medical clearance of inmates, and (3) review of

 7 compassionate release motions. As currently framed and interpreted by the Special Master, however, the

 8 Court’s Transfer Order and Attachment A.1 run the risk of dangerously and unconstitutionally drawing

 9 out the transition, adding to, rather than relieving the risks to AICs. BOP seeks clarification of the Order

10 to enable BOP to respond to the Court and Special Master’s concerns, and seeks modification of the

11 Order to expedite the transfer process and provide for its safe completion while BOP possesses the

12 means to accomplish these mass transfers.

13             a. The Designation of Inmates to Facilities is Within the Exclusive Authority of BOP.

14             Chapter 18 U.S.C. § 3621(b) delegates the authority to determine the Place of Imprisonment to

15 the BOP, stating:
                   (b) Place of Imprisonment.—The Bureau of Prisons shall designate the place of
16        the prisoner’s imprisonment, and shall, subject to bed availability, the prisoner’s security
17        designation, the prisoner’s programmatic needs, the prisoner’s mental and medical health
          needs, any request made by the prisoner related to faith-based needs, recommendations of
18        the sentencing court, and other security concerns of the Bureau of Prisons, place the
          prisoner in a facility as close as practicable to the prisoner’s primary residence, and to the
19        extent practicable, in a facility within 500 driving miles of that residence. …. The Bureau
          may designate any available penal or correctional facility that meets minimum
20
          standards of health and habitability established by the Bureau, whether maintained
21        by the Federal Government or otherwise and whether within or without the judicial
          district in which the person was convicted… The Bureau may at any time, having regard
22        for the same matters, direct the transfer of a prisoner from one penal or correctional
          facility to another.
23
          Chapter 18 U.S.C. § 3625(b) prohibits determinations, decisions, or orders under the subchapter
24
   from judicial review under the Administrative Procedure Act, to include 18 U.S.C. § 3621(b).
25
          An inmate may not dictate when a transfer should occur, nor does the Court have the authority to
26
   decide this issue. “The BOP is solely responsible for designating the place of confinement.” 18 U.S.C. §
27
   3621(b); see United States v. Dragna, 746 F.2d 457, 458 (9th Cir. 1984) (district court does not have
28

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 1 jurisdiction to decide the location of a defendant’s incarceration; that decision rests solely with the

 2 executive branch); see also United States v. Charry Cubillos, 91 F.3d 1342, 1343 n.1 (9 th Cir. 1996)

 3 (same); Smith v. Sanders, 2009 WL 2900317, at *1 (C.D. Cal. Sept. 3, 2009) (“Like the RDAP program,

 4 [which] the BOP administers under § 3621I, the BOP in this case has the sole authority to make RRC

 5 placement determinations under § 3621(b)”); Espinoza v. Rios, 2011 WL 4084365, *4 (E.D. Cal. Sep.

 6 13, 2011) (internal citations omitted); Adams v. Thomas, 2012 WL 1205104, at *1 (D. Or. April 11,

 7 2012) (“[L]ike the RDAP program the BOP administers under 3621 I, the BOP has the sole authority to

 8 make RRC placement determinations pursuant to 3621(b)... the BOP’s decision to deny petitioner’s

 9 RRC transfer request is a substantive, discretionary determination by the BOP that was not reviewable in

10 district court.”); Bristow v. Johnson, 2015 WL 18923184, *5 (C.D. Cal. Apr. 22, 2015) (“Alternatively,

11 to the extent petitioner is challenging the warden’s individualized determination as to the amount of time

12 that petitioner should spend in RRC placement, the Court lacks jurisdiction over any such challenge.”);

13 Wong v Ponce, Slip Copy, 2017 WL 784913, *5 (E.D. Cal. March 1, 2017) (“The courts have uniformly

14 found that habeas review of RRC placement determinations by the BOP is not permitted.”); English v.

15 Ives, 2012 WL 4038495 (E.D. Cal.) (substantive decision regarding inmate placement in an RRC not

16 reviewable by the court, citing Reeb); Geiger v. Adler, 2011 WL 5417093 (E.D. Cal. Nov. 8, 2011)

17 (same); Binford v. Thomas, 2011 WL 1791198 (D. Or. May 10, 2011) (same); Han v. Benov, 2011 WL

18 4084185 (E.D. Cal. Sept. 13, 2011) (same); Ingram v. Thomas, 2011 WL 1791234 (D. Or. May 10,

19 2011); Spears v. Rios, 2011 WL 4055247 (E.D. Cal. Sept. 12, 2011) (same); Gary v. Rios, 2011 WL

20 4055292 (E.D. Cal. Sept. 12, 2011) (same); Brown v. Sanders, 2011 WL 4899919 (C.D. Cal. Sept. 1,

21 2011) (same); Cheung v. Tews, No. 2011 WL 4529672 (N.D. Cal. Sept. 29, 2011) (same); Pua v. Tews,

22 2011 WL 4529735 (N.D. Cal. Sept. 29, 2011) (same); Tekle v. Washington–Adduci, 2011 WL 4802433

23 (C.D. Cal. Aug. 24, 2011) (same).

24             It is beyond question that transfer of inmates falls within the exclusive authority of the BOP, and

25 it is not subject to judicial review.

26             b. The Provision of Medical Care is Within the Exclusive Authority of BOP.

27             Chapter 28 C.F.R. § 0.96(o) states in pertinent part that the Director of the BOP “is authorized to

28 exercise or perform any of the authority, functions, or duties conferred or imposed upon the Attorney

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General by any law relating to the commitment, control, or treatment of persons (including sane

prisoners and juvenile delinquents) charged with or convicted of offenses against the United States,

including the taking of final action in promulgating rules governing the control and management of

Federal penal and correctional institutions and providing for the classification, government, discipline,

treatment, care, rehabilitation, and reformation of inmates confined therein. (18 U.S.C. 4001, 4041, and

4042). Chapter18 U.S.C. § 4001(b)(2) states in pertinent part that “[t]he Attorney General may establish

and conduct industries, farms, and other activities and classify the mmates; and provide for their proper

government, discipline, treatment, care, rehabilitation, and reformation.” Under Chapter 18 U.S.C.

§ 4042(a)(2), BOP, under the direction of the Attorney General, shall (2) provide suitable quarters and

provide for the safekeeping, care, and subsistence of all persons charged with or convicted of offenses

against the United States, or held as witnesses or otherwise.

          Doc. 254-1, Attachment A.1, states in pertinent part tha      i        ____

ee
eC
Ren                                           4 ttachment A.1, as mterpreted by the Special Master, makes

unclear which entity is tasked with completing the medical clearance of AICs, and does not define

a
          Similarly, Attachment A.1 does not define yy                                As the Court heard

during the January evidentiary hearing and through subsequent filings, BOP utilizes a third party to

schedule medical care in the community. An AIC may have a pending consult for any manner of care in

the community, but the speed with which those appointments happen depends, in part, on the third-party

scheduler’s ability to find a willing and suitable provider in the community, and on the backlog of

scheduled patients needing to see that provider. An AIC gets in the same queue as patients in the

community. Again, requiring completion of these consults prior to transfer is an impossibility and is

outside BOP’s control.

         Finally, Attachment A.1 doesn’t clarify the Special Master’s role in her “review” of medical

transfer evaluations, nor does it state anywhere in the Order that the Special Master must approve of the

transfers or otherwise has the power to veto them. BOP does not know whether it is the Special Master

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 1 (or a member of her team) who will medically clear the inmates, or if it will be BOP’s doctors. If the

 2 Special Master or her team are performing all medical clearances, will they assume liability if there is a

 3 medical emergency in-transit? These are all issues that undercut BOP’s clearly delineated duty of care to

 4 provide care for individuals in our custody until the expiration of their prison sen tence. Kaneakua v.

 5 Derr, 2023 WL 4534526, at *2 (D. Haw. July 13, 2023); see also McCormick v. City of Wildwood, 439

 6 F. Supp. 769 (D.N.J. 1977) (“A jailer duty to provide reasonable medical care is nondelegable and the

 7 duty attaches as soon as a prisoner is placed under the jailer custody.”).

 8             c. Closure of FCI Dublin is Within the Exclusive Authority of BOP.

 9             Chapter 18 U.S.C. § 4042, Duties of Bureau of Prisons, likewise identifies the obligations of the

10 Federal Bureau of Prisons under the direction of the Attorney General. The first directive of that statute,

11 in subparagraph (a)(1) states that the BOP shall “have charge of the management and regulation of all

12 Federal penal and correctional institutions”. Thus, the BOP is empowered and obligated to run, and

13 indeed close, institutions as necessary. To effectuate that obligation, the Attorney General has made

14 certain delegations of authority to the BOP in 28 CFR § 0.96, stating (in part):

15             The Director of the Bureau of Prisons is authorized to exercise or perform any of the
16             authority, functions, or duties conferred or imposed upon the Attorney General by any
               law relating to the commitment, control, or treatment of persons (including insane
17             prisoners and juvenile delinquents) charged with or convicted of offenses against the
               United States, including the taking of final action in the following-described matters:
18             …
               (c) Designating places of imprisonment or confinement where the sentences of prisoners
19
               shall be served and ordering transfers from one institution to another, whether maintained
20             by the Federal Government or otherwise, pursuant to 18 U.S.C. 4082 as it existed before
               the enactment of Pub. L. 98–473 (applicable to offenses committed prior to November 1,
21             1987).
               (d) Extending the limits of the place of confinement of prisoners for the purposes
22             specified, and within the limits established, by 18 U.S.C. 4082(c) as it existed before the
               enactment of Public Law 98–473, and otherwise performing the functions of the Attorney
23
               General under that section (applicable to offenses committed prior to November 1, 1987).
24             …
               (p) Establishing and designating Bureau of Prisons Institutions (18 U.S.C. 4001,
25             4042).
26 (emphasis added.)

27             Delegations of authority explicitly include making designations and indeed, operation (or closing

28 the operations) of a prison to be within the exclusive jurisdiction of the BOP. The authority of the BOP

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 1 to operate prisons or to close them has been upheld by the Ninth Circuit in Serrato v. Clark, 486 F.3d

 2 560 (9th Cir. 2007).

 3             The Bureau of Prisons operated two “shock” incarceration facilities pursuant to 18 USC § 4046 –

 4 the Intensive Confinement Center (ICC) (i.e., a “boot camp”) for men at Lewisburg, Pennsylvania, and

 5 the Intensive Confinement Center for women at Bryan, Texas. Through a daily regimen of physical

 6 training, work assignments, education, vocational training, and substance abuse treatment, the program

 7 sought to improve offenders’ decision making, self -direction, and self-image and help them gain

 8 permanent employment. The 6-month incarceration period at the ICC facilities was followed by a

 9 community corrections period during which participants finished out their sentences, f irst at a halfway

10 house and subsequently under home confinement. Successful completion resulted in up to 6 months off

11 a federal sentence. Due to budget pressures and research showing that boot camp did not reduce

12 recidivism, BOP terminated the programs.

13             When the ICCs were closed, inmate Serrato petitioned for writ of habeas corpus, claiming,

14 among other things, that the decision of BOP to terminate boot camp program violated Administrative

15 Procedure Act (APA), and the separation of powers.

16             The Ninth Circuit held otherwise. Serrato now stands for the proposition that the decision to

17 terminate the ICC program in the BOP was not susceptible to judicial review under the APA, and that

18 such termination of the ICC did not violate separation of powers by impermissibly impinging on

19 Congress, USSC, or the judiciary. The Court noted “BOP’s decision to terminate boot camp is not

20 susceptible to judicial review under the APA because the decision was “committed to agency discretion

21 by law.” 5 U.S.C. § 701(a)(2); see 486 F.3d at 567. The Court further noted, “BOP’s discretionary

22 decision how to allocate its lump sum appropriation does not impermissibly impinge on Congress, the

23 Sentencing Commission, or the judiciary.” See Id. at 570.

24             Similarly, this Court should not infringe BOP’s ability to close FCI Dublin. Preventing the

25 redesignation of inmates to other facilities results in a de facto ruling that the Court – should it and the

26 Special Master fail to approve such transfers – has the ultimate authority to decide whether and/or when

27 FCI Dublin should close. This not only violates the statutory command in 18 USC § 3621(b), stating,

28 “[n]otwithstanding any other provision of law, a designation of a place of imprisonment under this

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subsection is not reviewable by any court’, but it is wrests authority to operate (or decline to operate) a

prison from the Executive improperly into the Judiciary.

          d.   The Concerns Addressed in The Court’s Transfer Order Can Be Addressed Without

               Further Delaying Closure and Risking Staff and Inmate Safety.

                    i.    BOP has appropriately classified AICs and calculated release dates.

         The classification and redesignation of AICs were done quickly, but not arbitrarily, and BOP has

gone through an exhaustive process to ensure redesignations have occurred in accordance with all

applicable requirements. BOP has already considered and reviewed whether inmates should be

transferred to the same or lesser security institutions, to home confinement, to residential re-entry

centers, or whether they had an imminent release date. The Designation and Sentence               Computation

Center (DSCC) undertook a massive effort to ensure all placements were appropriate and individually

considered. Redesignations began at approximately [a                                                              .

and designators worked overtime all weekend with the goal to have all redesignations completed by

i                                                                                    —SSCSCC
a
         Individuals with a projected release date prior to April 19, 2024, were identified and exempted

from the mass movement, as were individuals projected to transfer to Residential Re-Entry Centers.

Special population inmates, such as transgender inmates, were identified and DSCC coordinated with

the Transgender Executive Counsel (TEC) to consider and select appropriate designations for each.

DSCC also worked to maximize “programming” beds, that is, beds reserved for mmates participating in

special programs within the BOP, such as the “FIT” program, to ensure qualifying individual could

benefit from beneficial programming. (The Female Integrated Treatment, or FIT Program is an

institution-wide, residential treatment program that offers integrated cognitive-behavioral treatment for

substance use disorders, mental illness, and trauma related disorders, as well as vocational training, to

female participants.)
BE                       A lifts were coordinated to minimize lengthy bus rides. Extensive efforts were made to

redesignate and transport all affected inmates in a safe, secure, and efficient manner. More importantly,



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 1 there is no evidence to suggest any errors in designation, and, even if such errors existed, they can be

 2 corrected and cannot justify prolonging the operation of FCI Dublin.

 3             To foster cooperation with the Special Master and her team, Interim Warden McKinney has

 4 instructed all FCI Dublin staff to provide whatever materials the Special Master or her team has

 5 requested. Subject matter experts, to include programs and casework exp erts, are available on site to

 6 address questions and show documentation and outline our review process, which will allow her to

 7 understand the BOP process and approve transfers. However, under the current constraints, BOP has

 8 been able to clear significantly fewer inmates for transfer than its targets. (McKinney Decl., ¶ 4.) The

 9 government is committed to providing transparency, has provided, and will continue to provide the

10 requisite release date calculations for every transferee prior to transfer.

11                        ii. BOP appropriately medically clears AICs for transfer and provides needed

12                             medications.

13             It is standard practice for BOP to evaluate AICs for medical clearance prior to any transfer and

14 ensure that needed medications are provided. Chapter 18 U.S.C. § 3621(i)(1) requires continued access

15 to medical care and provides that, to “ensure a minimum standard of health and habitability, the [BOP]

16 should ensure that each prisoner in a community confinement facility has access to necessary medical

17 care, mental health care, and medicine through partnerships with local health service providers and

18 transition planning.” With respect to completing all pending medical consults prior to transfer, BOP’s

19 Health Services Utilization Review nurses will provide follow-up care with all AICs with consults at

20 their receiving institutions as a measure of oversight to ensure all sub -specialist appointments are

21 scheduled and completed. But delays in transfer exacerbate medically needed mammograms, x -rays, and

22 gastrointestinal appointments that can be provided by willing and available providers at the AIC’s

23 receiving institutions. Again, BOP can provide the court and SM with information on where these

24 individuals are going and provide assurance that the receiving facilities are aware of their medical needs.

25 This facet of paragraph 4 of Attachment A.1 should be eliminated.

26             Attachment A.1 appears to make a blanket demand that two weeks of medication shall be

27 shipped when any inmate transfers. Even if the Court intended to state that it applied to only inmates

28 with active prescriptions, this is an arbitrary amount – assigned without any knowledge of an inmate’s

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medical profile, their place of designation, the length for their transfer from FCI Dublin to their new

facility, or whether the inmate would even be permitted to possess the medication they might otherwise

be required to take on a daily basis. There are some drugs AICs cannot transfer on their person,

especially across state lines (e.g., MAT drugs). (McKinney Decl., § 12.) This facet of paragraph 4 of

Attachment A.1 should be eliminated.

                    iii. BOP appropriately handles compassionate release motions.

         Concerning reductions in sentence, agency policy outlines the process by which the BOP can

make a motion for Compassionate Release only after review of the request by the Warden, the General

Counsel, and either the Medical Director for medical referrals or the Assistant Director, Correctional

Programs Division, for non-medical referrals. At the conclusion of this process, the General Counsel

will forward the entire matter to the BOP Director for a final decision. If the BOP Director approves the

request, she will contact the U.S. Attorney in the district in which the mate was sentenced regarding

moving the sentencing court on the BOP’s behalf to reduce the minimum term of the inmate’s sentence

to time served. The BOP lacks independent authority to grant Compassionate Release, only the AIC’s

sentencing court has the authority to grant compassionate release. (McKinney Decl., § 13.)

         Pertaining to FCI Dublin AICs, there are currently
                                                          Jj admiuistrative requests pending with BOP

for compassionate release. Of these Jjrequests, JJ remain under the Warden’s Review at FCI Dublin: J

remain under the Reduction in Sentence Coordinator’s review at FCI Dublin; and the remaining

remain under OGC Review at BOP’s Central Office after FCI Dublin referred them for further

processing. To the extent any of the Jj Compassionate Releases under OGC review were to reach a

decision while those AICs were in-transit to the new facility, BOP would be able to immediately

release them from their in-transit location. The sending institution, or FCI Dublin, would coordinate

with the institution where the AIC would be temporarily housed, in-transit, to effectuate the release.

(McKinney Decl., § 14.) BOP will inform the Special Master of the results of all pending compassionate

release requests and coordination with the receiving facility with respect to any inmates granted release.

But there is simply no need to disrupt the transfer and confine inmates in an understaffed facility to keep

the Special Master appraised of the progress of the review process.



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 1 The facet of paragraph 4 of Attachment A.1 requiring BOP to complete review of compassionate release

 2 requests and review with the Special Master prior to transfer should be eliminated.

 3                                                   CONCLUSION

 4             In sum, the perverse effect of the Court’s Transfer Order after April 19 is a de facto requirement

 5 that BOP keep FCI Dublin open and keep inmates at that facility despite the various shortcomings and

 6 limitations the Court has previously identified. The Court not only lacks jurisdiction to impose such a

 7 requirement, but it is also antithetical to the overall objective of safeguarding inmate safety and welfare.

 8 Given the above information, along with Interim Warden McKinney’s declaration, this Court should

 9 allow BOP to continue with its process of safely transferring out all AICs, while including the Special

10 Master in all requested information – as it has been doing since the closure was announced.

11             Dated this 16th day of April, 2024.

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13                                                   JESSE A. LASLOVICH
                                                     United States Attorney
14

15                                                   /s/ Madison L. Mattioli
                                                     MADISON L. MATTIOLI
16                                                   ABBIE J.N. CZIOK
                                                     MARK STEGER SMITH
17                                                   TIMOTHY A. TATARKA
                                                     Assistant U.S. Attorneys
18                                                   Attorneys for Federal Defendants
19

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